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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


Linda Tirado,                                          Case No. 20-CV-01338 (JRT/JFD)

              Plaintiff,

       vs.                                     DECLARATION OF KRISTIN SARFF

City of Minneapolis; Minneapolis Chief of
Police Medaria Arradondo, in his official
capacity; Robert Kroll, in his individual
capacity; and Minneapolis Police
Department Officers John Does 1-4, in
their official and individual capacities,

             Defendants.



       Your Declarant is Kristin R. Sarff, and she submits the following declaration on

behalf of the Defendant City of Minneapolis:

       1.     I am an Assistant City Attorney with the Minneapolis City Attorney’s Office.

I am one of the attorneys assigned to represent the Defendant City of Minneapolis in this

matter. I submit this declaration in opposition to the Plaintiff’s motion for leave to amend

to file the proposed Second Amended Complaint.

       2.     Attached as Exhibit A is a true and correct copy of email correspondence

from Plaintiff’s counsel, dated February 2, 2022.

       3.     Attached as Exhibit B is a true and correct copy of the first version of a

redlined copy of the Proposed Second Amended Complaint provided to the City’s counsel,

along with the February 2, 2022, attached as Exhibit A.
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       4.     Attached as Exhibit C is a true and correct copy of correspondence from the

City of Minneapolis’ counsel to Plaintiff’s counsel, dated February 3, 2022.

       5.     Attached as Exhibit D is a true and correct copy of correspondence from

Plaintiff’s counsel to the City of Minneapolis’ counsel, dated February 3, 2022.

       6.     Attached as Exhibit E is a true and correct copy of correspondence from

Plaintiff’s counsel to the City of Minneapolis’ counsel, dated February 3, 2022.

       7.     Attached as Exhibit F is a true and correct copy of the second version of the

Plaintiff’s proposed Second Amended Complaint that was sent to the City of Minneapolis’

counsel

I declare under penalty of perjury that everything I have stated in this document is true
and correct. Signed in Hennepin County, Minnesota.

Dated: February 10, 2022                         /s Kristin R. Sarff
                                                 Kristin R. Sarff
